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                                                             United States Department of Justice
                                                             United States Attorney’s Office
                                                             Western District of Texas

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ASSISTANT UNITED STATES ATTORNEY        Austin, Texas                            Email: liane.noble@usdoj.gov



                                           February 24, 2023

Via: E-mail & CM/ECF

Christopher D. Hilton
Amy Snow Hilton
Office of the Attorney General of Texas
P.O. Box 12548, Capitol Station
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Christopher.Hilton@oag.texas.gov
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         RE:      Texas v. Becerra, Civil Action No. 7:23-cv-00022 (W.D. Tex.)
                  Notice of Defective Service

Dear Counsel:

         We received mail delivery in our Midland Office of a Complaint and Summons filed in the
above-referenced case. A suit brought against a United States agency or a United States officer sued
only in an official capacity must be served in accordance with Rule 4(i)(1)-(2). Specifically, Plaintiff
must complete service on three different addresses: the United States Attorney’s Office for the
district where the complaint was filed (Rule 4(i)(1)(A)), the Attorney General of the United States
(Rule 4(i)(1)(B)), and the agency or officer (Rule 4(i)(2)).

        To comply with Rule 4(i)(1)(A), you must serve one of the individuals designated to receive
service at the United States Attorney’s Office. A list of designated individuals is available on the
Court’s website.1 Please note that these individuals are in the San Antonio Division, not the Midland
Division of the United States Attorney’s Office.

        While there are provisions in the Rules that allow for waiver of service, the United States
and its agencies are not listed as entities that can waive service and, therefore, we must insist upon
compliance with the applicable rules. See 1993 amendments to Fed. R. Civ. P. 4, subdivision (i).
Defendant’s actual notice of the litigation is insufficient to satisfy Rule 4’s requirements. See Ayika
v. Sutton, 378 Fed. App’x 432, 434 (5th Cir. 2010) (citing Way v. Mueller Brass Co., 840 F.2d 303,
306 (5th Cir. 1988)).


1
 https://www.txwd.uscourts.gov/wp-
content/uploads/For%20Attorneys/AmendedDesignationofAgentsforServiceofProcess.pdf
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       We await proper service of Plaintiff’s Summons and Complaint. Until proper service has
been accomplished on the United States and/or its agencies, Defendants are not properly joined in
your action, and no answer or responsive pleading is required. Fed. R. Civ. P. 12(a)(2).2

                                                               Sincerely,

                                                               JAIME ESPARZA
                                                               UNITED STATES ATTORNEY

                                                       By: /s/ Liane Noble
                                                           Liane N. Noble
                                                           Assistant United States Attorney




2
    Defendants do not waive any defense they may have regarding improper service of process.
